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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------- X
MAN ZHANG and CHUNMAN ZHANG,
individually, and as                                           11/2/2020
ADMINISTRATORS of the estate of
ZHIQUAN ZHANG, deceased,
                                              No. 17 Civ. 5415 (JFK)
                   Plaintiffs,
                                                       ORDER
       -against-

THE CITY OF NEW YORK, et al.,

               Defendants.
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JOHN F. KEENAN, United States District Judge:

       On October 2, 2019, Plaintiffs filed a motion, ECF No. 202,

to set aside Magistrate Judge Wang's August 20, 2019 Opinion &

Order granting in part and denying in part a motion by

Plaintiffs for sanctions for spoliation of evidence, ECF No.

190.    However, on August 17, 2020, Magistrate Judge Wang granted

Defendants' motion for reconsideration of her August 20, 2019

decision, supra, and denied Plaintiffs' motion for sanctions in

its entirety, ECF No. 234.

       The following day, August 18, 2020, Plaintiffs filed a

notice of appeal to the Second Circuit, ECF No. 235, challenging

the following five decisions:         (1) this Court's June 28, 2018

decision granting in part and denying in part Defendants' motion

to dismiss, ECF No. 126;         (2) Magistrate Judge Wang's August 20,

2019 spoliation decision, supra, ECF No. 190;         (3) this Court's

September 19, 2019 decision denying Plaintiffs' motion for leave


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to file an amended complaint, ECF No. 198;      (4) this Court's July

20, 2020 decision denying Plaintiffs' motion for

reconsideration, ECF No. 233; and (5) Magistrate Judge Wang's

August 17, 2020 spoliation reconsideration decision, supra, ECF

No. 234.

     Apparently undeterred by the fact that Plaintiffs had

already petitioned the Second Circuit to rule on their

objections to Magistrate Judge Wang's August 17, 2020 decision

(among others), on August 31, 2020, Plaintiffs moved this Court

to set aside that same decision by Magistrate Judge Wang, ECF

No. 236.

     As a general matter, "a federal district court and a

federal court of appeals should not attempt to assert

jurisdiction over a case simultaneously." Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58 (1982).       Indeed, "[t]he

filing of a notice of appeal is an event of jurisdictional

significance-it confers jurisdiction on the court of appeals and

divests the district court of its control over those aspects of

the case involved in the appeal." Id.      Accordingly, the Court is

of the opinion that it does not have the jurisdiction to decide

any of Plaintiffs' pending motions until the Circuit has

remanded the case.

     Before the Court makes that finding, however, once again

delaying any resolution of this approximately three-and-a-half


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year case, the parties are hereby ORDERED to individually file

letters of no more than three pages addressing whether the Court

has jurisdiction to decide any of the unresolved motions

currently pending in this litigation.        The parties' letters must

be filed to the docket by no later than 5:00 p.m. on November

13, 2020.     Sur-replies are not permitted.

SO ORDERED.

Dated:   New York, New York
         November 2, 2020

                                        United States District Judge




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